                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PHILIP CHARVAT, on behalf of himself              )
and others similarly situated,                    )   Case No. 1:12-cv-05746
       Plaintiff,                                 )
               v.                                 )
                                                  )   Hon. Judge Andrea R. Wood
ELIZABETH VALENTE et al.,                         )
     Defendants.                                  )

               JOINT MOTION FOR ENTRY OF AMENDED JUDGMENT

       The Parties and objectors jointly request that the Court enter the attached amended

judgment, and in support state as follow:

       1.      This is a Telephone Consumer Protection Act, 47 U.S.C. §227 case that settled on

a class basis. The Court issued a dismissal order and judgment on November 4, 2019. Dkt. 730.

Three objectors appealed, and then settled to finally resolve the action and appeals. Dkt. 739-2.

The Court issued an indicative ruling confirming that it would approve the Settlement as amended

upon remand from the Seventh Circuit on February 27, 2020. Dkt. 744. In its ruling, the Court

noted that the two limited changes to the settlement would benefit or not impact class members,

and accordingly, “if the case is remanded, the Court will not require a new round of class notice

or conduct another fairness hearing prior to issuing a ruling approving the amended settlement.”

Id.

       2.      The Court further held: “[t]he Court finds that the proposed amendments do not

impact its prior reasoning approving the settlement as fair. Additionally, a speedier settlement and

payout is in all class members’ interests. Therefore, the Court would approve the proposed

amended settlement upon remand.” Id.

       3.      On Mach 20, 2020, the Seventh Circuit remanded the case for approval of the
settlement and entry of judgment. Exhibit A.

       4.     In light of the remand and the Court’s prior ruling indicating that a speedier

settlement payout is in class members interest and that it would approve the amended settlement,

this matter is now ready to be finally resolved through an amended judgment.

       WHEREFORE, the Parties respectfully request that the Court enter the proposed Amended

Final Order of Dismissal and Final Judgment attached hereto as Exhibit B.




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Dated: March 23, 2020                            Respectfully submitted,

 PHILIP CHARVAT, on behalf of himself and        ROYAL CARIBBEAN CRUISES,
 others similarly situated                       LTD. and NCL (BAHAMAS), LTD.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on March 23, 2020, I electronically filed the foregoing with the

Clerk of the Court for the Northern District of Illinois using the CM/ECF system, which will

send notification of such to all counsel of record.

                                                             /s/ Edward A. Broderick
                                                             Edward A. Broderick




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